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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 THE HUNTINGTON NATIONAL BANK,                             )
                                                           )
        Plaintiff,                                         )
                                                           )
                                                           )    Case No.
                                                           )
                                                           )
 v.                                                        )
                                                           )
 TEENY TURNER, LLC, NISHA M. MOELLER, THE                  )
 RESIDENCES AT THE JOFFREY TOWER                           )
 CONDOMINIUM ASSOCIATION, and WEST END                     )
 FLATS CONDOMINIUM ASSOCIATION,                            )
                                                           )
            Defendants.                                    )

         VERIFIED COMPLAINT FOR FORECLOSURE AND OTHER RELIEF

       NOW COMES Plaintiff The Huntington National Bank, by and through its attorneys,

Dickinson Wright PLLC, and for its Verified Complaint for Foreclosure and Other Relief, states

as follows:

                                        THE PARTIES


       1.       Plaintiff The Huntington National Bank (the “Bank”), is a national bank organized

and existing under the laws of the United States of America with a principal place of business in

Columbus, Ohio, and which maintains its main office in Ohio, as set forth in its certificate

submitted to the Office of the Comptroller of the Currency of the U.S. Treasury (the “OCC”).

       2.       Defendant Teeny Turner, LLC (“Borrower”), is an Illinois liability company that

was involuntarily dissolved on September 9, 2022, with its principal place of business at 8 East

Randolph Street, Suite 2902, Chicago, Illinois, 60601. Nisha M. Moeller (“Moeller”) is the

manager and sole member of Borrower and, upon information and belief, maintains her domicile


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and principal place of residence at 8 East Randolph Street, Unit 2902, Chicago, Illinois 60601.

Therefore, Borrower is a citizen of the State of Illinois.

       3.      Moeller is an individual who is a citizen of the State of Illinois because, upon

information and belief, she maintains her domicile and principal place of residence at 8 East

Randolph Street, Suite 2902, Chicago, Illinois, 60601.

       4.      Defendant The Residences at the Joffrey Tower Condominium Association (the

“Joffrey Association”) is a not-for-profit corporation organized and existing under the laws of

Illinois and the condominium association for the building located at 8 East Randolph Street, Unit

2902, Chicago, Illinois, 60601.

       5.      Defendant West End Flats Condominium Association (the “West End

Association”) is a not-for-profit corporation organized and existing under the laws of Illinois and

the condominium association for the building located at 3207 West Argyle Street, Unit 2W,

Chicago, Illinois, 60625.

                                  JURISDICTION AND VENUE

       6.      Jurisdiction is proper under 28 U.S.C. § 1332(a)(1) as the amount in controversy

exceeds $75,000.00 exclusive of interest and costs, and is between citizens of different states.

       7.      Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because one or more of the

Defendants reside in the Northern District of Illinois, Eastern Division, and the loan and properties

subject to this action was entered into, accepted, and situated in the Northern District of Illinois,

Eastern Division.

                                  COMMON ALLEGATIONS

       8.      The Bank made a loan (the “Loan”) to Borrower in the principal amount of

$578,000.00 evidenced by that certain U.S. Small Business Administration Note from Borrower



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to the Bank dated November 10, 2021, in the original principal amount of $578,000.00 (the

“Note”). A copy of the Note is attached hereto as Exhibit A.

       9.       On or about November 10, 2021, in connection with the Loan and to guarantee

Borrower’s repayment obligations, Moeller executed and delivered to the Bank a certain U.S.

Small Business Administration Unconditional Guarantee (the “Guaranty”). A copy of the

Guaranty is attached hereto as Exhibit B.

       10.      The Note and Guaranty are secured by, among other things, that certain Mortgage

on the property located at 8 East Randolph Street, Unit 2902, Chicago, Illinois, 60601 (the

“Randolph Property”), made on November 10, 2021 by Moeller to the Bank and recorded in the

Office of the Recorder of Deeds of Cook County, Illinois on November 26, 2021, as Document

No. 2133025052 (the “Randolph Mortgage”). A copy of the Randolph Mortgage is attached hereto

as Exhibit C.

       11.      The Note and Guaranty are further secured by, among other things, that certain

Mortgage on the property commonly known as 3207 West Argyle Street, Unit 2W, Chicago,

Illinois, 60625 (the “Argyle Property”) made on November 10, 2021 by Moeller to the Bank and

recorded in the Office of the Recorder of Deeds of Cook County, Illinois on November 26, 2021,

as Document No. 2133033076 (the “Argyle Mortgage”, and together with the Randolph Mortgage

are collectively referred to as the “Mortgages”). A copy of the Argyle Mortgage is attached hereto

as Exhibit D.

       12.      The Mortgages are cross-collateralized with any indebtedness of Borrower and

Moeller to the Bank, including any amounts due to the Bank from Moeller under the Guaranty.

       13.      Borrower is in default under the Note and Mortgages for its failure to make all

required payments under the Note commencing on April 5, 2023 and continuing thereafter.



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Pursuant to the terms contained therein, the entire principal balance plus accrued interest and late

charges has been accelerated and is immediately due and owing.

       14.     As of August 28, 2023, there is due and owing under Note:

               Principal                              $554,139.68
               Accrued Interest                       $ 27,403.34
               Title Service Fees                     $    200.00
               Appraisal Fees                         $ 3,298.00
               Late Charges                           $    811.06
               Return Check Charge                    $     30.00
               Total:                                 $585,882.08

       15.     From and after August 28, 2023, interest accrues on the unpaid principal balance

under the terms of Note at the rate of $159.41 per day. In addition, the Bank has incurred and will

continue to incur attorneys, appraisal, inspection, search, credit report and other fees and expenses

as needed until the date of sale, all of which are compensable under the terms of Note, the

Mortgages, and the Guaranty.

             COUNT I – FORECLOSURE OF THE RANDOLPH MORTGAGE

       16.     The Bank restates and re-alleges paragraphs 1-15, inclusive, as though fully set

forth in this paragraph 16.

       17.     Information Concerning the Randolph Mortgage:

               a.      Nature of Instrument: Mortgage.

               b.      Date of Mortgage: November 10, 2021.

               c.      Name of Mortgagor: Nisha M. Moeller.

               d.      Name of Mortgagee: The Huntington National Bank.

               e.      Date & Place of Recording: November 26, 2021 in the Office of the Cook

                       County Recorder of Deeds.

               f.      Identification of Recording: Document No. 2133025052



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       g.     Interest Subject to Mortgage: Fee simple.

       h.     Amount of Original Indebtedness: $578,000.00.

       i.     The Legal Description of the Real Estate, Common Address, and

              P.I.N.:

              (1)       Legal Description:

              UNIT 2902, TOGETHER WITH THE EXCLUSIVE RIGHT TO USE
              STORAGE SPACE S148, LIMITED COMMON ELEMENT, IN THE
              RESIDENCES AT THE JOFFREY TOWER CONDOMINIUM AS
              DELINEATED ON THE PLAT OF SURVEY OF THAT PART OF THE
              FOLLOWING PARCELS OF REAL ESTATE:

              PARCEL 1:

              LOTS 25 TO 31, INCLUSIVE, IN BLOCK 9 IN FORT DEARBORN
              ADDITION TO CHICAGO IN THE SOUTH WEST 1/4 OF SECTION 10,
              TOWNSHIP 39 NORTH, RANGE 14 EAST OF THE THIRD PRINCIPAL
              MERIDIAN, IN COOK COUNTY, ILLINOIS. WHICH SURVEY IS
              ATTACHED AS EXHIBIT C TO THE DECLARATION OF
              CONDOMINIUM RECORDED JANUARY 23, 2008 AS DOCUMENT
              NUMBER 0802803105, AS MAY BE AMENDED FROM TIME TO
              TIME TOGETHER WITH THEIR UNDIVIDED PERCENTAGE
              INTEREST IN THE COMMON ELEMENTS.

              PARCEL 2:

              NON-EXCLUSIVE EASEMENTS APPURTENANT TO AND FOR THE
              BENEFIT OF PARCEL 1 AS CREATED BY THE DECLARATION OF
              COVENANTS, CONDITIONS, RESTRICTIONS AND EASEMENTS
              FOR THE STATE RANDOLPH DEVELOPMENT, RECORDED
              OCTOBER 19, 2007 AS DOCUMENT NUMBER 0729260064 FOR
              SUPPORT, INGRESS AND EGRESS, MAINTENANCE, UTILITIES,
              ENCROACHMENTS, ELEVATORS AND FACILITIES, OVER THE
              LAND DESCRIBED THEREIN AND AS MORE PARTICULARLY
              DESCRIBED AND DEFINED THEREIN.

              (2)    Common Address: 8 East Randolph Street, Unit 2902, Chicago, IL
              60601.

              (3)       P.I.N.: 17-10-305-011-1146.




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       j.     Statements as to Defaults including, but not necessarily limited to, date
              of default, current unpaid principal balance, per diem interest
              accruing, and any other information concerning the default:

              (1)    A Default/Event of Default has occurred under the Note, Randolph
                     Mortgage and Guaranty as specifically set forth in Paragraphs 13-
                     15 herein. Pursuant to the terms contained therein, the entire
                     principal balance plus accrued interest and late charges is
                     immediately due and owing. As of August 28, 2023, the following
                     amounts were due and payable under the Note, Randolph Mortgage
                     and Guaranty:

                            Principal                               $554,139.68
                            Accrued Interest                        $ 27,403.34
                            Title Service Fees                      $    200.00
                            Appraisal Fees                          $ 3,298.00
                            Late Charges                            $    811.06
                            Return Check Charge                     $     30.00
                            Total:                                  $585,882.08

                     From and after August 28, 2023, interest accrues on the unpaid
                     principal balance under the terms of the Note at the rate of $159.41
                     per day. In addition, the Bank has incurred and will continue to
                     incur attorneys, appraisal, inspection, search, credit report and other
                     fees and expenses as needed until the date of sale, all of which are
                     compensable under the terms of the Note, Randolph Mortgage and
                     Guaranty.

              (2)    The Bank reserves the right to allege additional defaults which may
                     be discovered or which may occur subsequent to the filing hereof.

       k.     Name of Present Owner of the Randolph Property: Nisha M. Moeller.

       l.     Names of Other Persons Who Are Joined as Defendants and whose
              interests in or lien on the mortgaged real estate are sought to be
              terminated:

              (i)    Teeny Turner, LLC;
              (ii)   The Residences at the Joffrey Tower Condominium Association.

       m.      Names of Persons Claimed to Be Liable for Deficiency:

              (i)    Teeny Turner, LLC;
              (ii)   Nisha M. Moeller.




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               n.      Capacity in Which the Bank Brings This Action: As the owner and legal
                       holder of the Note, Randolph Mortgage and Guaranty.

               o.      Facts in Support of Shortened Redemption Period, If Sought: None at
                       this time.

               p.      Statement That the Right of Redemption Has Been Waived By All
                       Owners of Redemption, If Applicable: Not applicable.

               q.      Facts in Support of Request for Attorneys’ Fees and of Costs and
                       Expenses, If Applicable: Attorneys’ fees, costs and expenses are
                       recoverable under the terms of the Note, Randolph Mortgage and Guaranty.

               r.      Facts in Support of a Request for Appointment of Mortgagee in
                       Possession or for Appointment of a Receiver, If Sought: Upon an event
                       of default, the Randolph Mortgage provides on page 11 that the Bank may
                       seek the appointment of a receiver or be appointed mortgagee-in-possession
                       to, among other things, take possession of the Randolph Property and
                       collect the rents.

               s.      Mortgagee’s Position on Consent Foreclosure: The Bank does not, in
                       accordance with 735 ILCS 5/15-1402, agree to accept title to the Randolph
                       Property in satisfaction of all indebtedness and obligations secured by the
                       Randolph Mortgage without a judicial sale.

               t.      Name of Defendants Whose Right to Possess the Mortgaged Real
                       Estate, After the Confirmation of a Foreclosure Sale, Is Sought To Be
                       Terminated and, If Not Elsewhere Stated, the Facts in Support
                       Thereof: Teeny Turner, LLC, Nisha M. Moeller and The Residences at the
                       Joffrey Tower Condominium Association.

                         REQUEST FOR RELIEF AS TO COUNT I

       Wherefore, Plaintiff The Huntington National Bank, respectfully requests that the Court

enter the following:

       1.      A Judgment of Foreclosure and Sale as follows:

               (A)     that an accounting be taken under the direction the Court of the amounts

               due and owing by Borrower to the Bank;

               (B)     that Borrower be ordered to pay to the Bank, before expiration of any

               redemption period (or, if no redemption period, before a short date fixed by the


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       Court) whatever sums may appear to be due upon the taking of such account,

       together with attorneys’ fees and costs of the proceeds (to the extent provided in

       the Randolph Mortgage or by law);

       (C)    that in default of such payment, in accordance with the judgment, the

       Randolph Property be sold as directed by the Court, to satisfy the amount due to

       the Bank as set forth in the judgment, together with the interest thereon at the

       statutory judgment rate from the date of the judgment;

       (D)    that in the event the Bank is the purchaser of the Randolph Property at such

       sale, the Bank may offset against the purchase price of the Randolph Property the

       amounts due under the Judgment of Foreclosure and order confirming the Sale;

       (E)    that in the event of such sale and the failure of any person entitled thereto

       to redeem prior to such sale pursuant to Article 15 of the Illinois Mortgage

       Foreclosure Law, 735 ILCS §§ 5/15-1101 et seq., the Defendants made parties to

       the foreclosure in accordance with Article 15 of the Illinois Mortgage Foreclosure

       Law, and all non-record claimants given notice of the foreclosure in accordance

       with Article 15 of the Illinois Mortgage Foreclosure Law, and all persons claiming

       by, through or under them, and eachand any and all of them, may be forever barred

       and foreclosed of any right, title, interest, claim, lien, or right to redeem in and to

       the mortgaged real estate; and

       (F)    that if no redemption is made prior to such sale, a deed may be issued to the

       purchaser thereat according to law and such purchaser be let into possession of the

       Randolph Property in accordance with Article 17 of the Illinois Mortgage

       Foreclosure Law §§ 735 ILCS 5/15-1701 et seq.



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       2.      An order appointing the Bank as mortgagee in possession or, in the alternative, an

               order appointing a receiver, if applicable;

       3.      A personal judgment of deficiency against Defendants, Teeny Turner, LLC and

               Nisha M. Moeller;

       4.      A judgment for attorneys’ fees, costs and expenses; and

       5.      Such other and further relief to which the Bank may be entitled.

              COUNT II – FORECLOSURE OF THE ARGYLE MORTGAGE

       18.     The Bank restates and re-alleges paragraphs 1-15, inclusive, as though fully set

forth in this paragraph 18.

       19.     Information Concerning the Argyle Mortgage:

               a.      Nature of Instrument: Mortgage.

               b.      Date of Mortgage: November 10, 2021.

               c.      Name of Mortgagor: Nisha M. Moeller.

               d.      Name of Mortgagee: The Huntington National Bank.

               e.      Date & Place of Recording: November 26, 2021 in the Office of the Cook

                       County Recorder of Deeds.

               f.      Identification of Recording: Document No. 2133033076

               g.      Interest Subject to Mortgage: Fee simple.

               h.      Amount of Original Indebtedness: $578,000.00.

               i.      The Legal Description of the Real Estate, Common Address, and

                       P.I.N.:

                       (1)       Legal Description:

                       PARCEL 1:



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               UNIT NUMBER 3207-2W IN THE WEST END FLATS
               CONDOMINIUM AS DELINEATED ON A SURVEY OF THE
               FOLLOWING DESCRIBED REAL ESTATE: LOTS 1 TO 5 IN
               THOMASSON'S 4TH RAVENSWOOD ADDITION TO CHICAGO, A
               SUBDIVISION OF THE EAST 1/2 OF BLOCK 21 AND 28 IN
               JACKSON'S SUBDIVISION OF THE SOUTHEAST 1/4 OF SECTION
               11 AND THE SOUTHWEST 1/4 OF SECTION 12, TOWNSHIP 40
               NORTH, RANGE 13 EAST OF THE THIRD PRINCIPAL MERIDIAN,
               IN COOK COUNTY, ILLINOIS, WHICH SURVEY IS ATTACHED AS
               EXHIBIT "B" TO THE DECLARATION OF CONDOMINIUM
               RECORDED AS DOCUMENT 0021147798 AS AMENDED FROM
               TIME TO TIME TOGETHER WITH ITS UNDIVIDED PERCENTAGE
               INTEREST IN THE COMMON ELEMENTS, IN COOK COUNTY,
               ILLINOIS.

               PARCEL 2:

               THE EXCLUSIVE RIGHT TO THE USE OF STORAGE SPACE 11, A
               LIMITED COMMON ELEMENT AS DELINEATED IN THE
               AFORESAID DECLARATION OF CONDOMINIUM AS LIMITED
               COMMON ELEMENT, S-11 RECORDED IN COOK COUNTY,
               ILLINOIS.

               (2)    Common Address: 3207 West Argyle Street, Unit 2W, Chicago,
               IL 60625.

               (3)    P.I.N.: 13-11-423-027-1016.

        j.     Statements as to Defaults including, but not necessarily limited to, date
               of default, current unpaid principal balance, per diem interest
               accruing, and any other information concerning the default:

               (1)    A Default/Event of Default has occurred under the Note, Argyle
                      Mortgage and Guaranty as specifically set forth in Paragraphs 13-
                      15 herein. Pursuant to the terms contained therein, the entire
                      principal balance plus accrued interest and late charges is
                      immediately due and owing. As of August 28, 2023, the following
                      amounts were due and payable under the Note, Argyle Mortgage
                      and Guaranty:

                             Principal                            $554,139.68
                             Accrued Interest                     $ 27,403.34
                             Title Service Fees                   $    200.00
                             Appraisal Fees                       $ 3,298.00
                             Late Charges                         $    811.06
                             Return Check Charge                  $     30.00


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                                Total:                                  $585,882.08

                         From and after August 28, 2023, interest accrues on the unpaid
                         principal balance under the terms of the Note at the rate of $159.41
                         per day. In addition, the Bank has incurred and will continue to
                         incur attorneys, appraisal, inspection, search, credit report and other
                         fees and expenses as needed until the date of sale, all of which are
                         compensable under the terms of the Note, Argyle Mortgage and
                         Guaranty.

               (2)       The Bank reserves the right to allege additional defaults which may
                         be discovered or which may occur subsequent to the filing hereof.

        k.     Name of Present Owner of the Argyle Property: Nisha M. Moeller.

        l.     Names of Other Persons Who Are Joined as Defendants and whose
               interests in or lien on the mortgaged real estate are sought to be terminated:

                      (i) Teeny Turner, LLC;
                      (ii) West End Flats Condominium.

        m.     Names of Defendants Claimed to Be Liable for Deficiency, If Any:

               (i)       Teeny Turner, LLC
               (ii)      Nisha M. Moeller.

        n.     Capacity in Which the Bank Brings This Foreclosure: As the owner and
               legal holder of the Note, Argyle Mortgage and Guaranty.

        o.     Facts in Support of Shortened Redemption Period, If Sought: None at
               this time.

        p.     Statement That the Right of Redemption Has Been Waived By All
               Owners of Redemption, If Applicable: Not applicable.

        q.     Facts in Support of Request for Attorneys’ Fees and of Costs and
               Expenses, If Applicable: Attorneys’ fees, costs and expenses are
               recoverable under the terms of the Note, Argyle Mortgage and Guaranty.

        r.     Facts in Support of a Request for Appointment of Mortgagee in
               Possession or for Appointment of a Receiver, If Sought: Upon an event
               of default, the Argyle Mortgage provides on page 10 that the Bank may seek
               the appointment of a receiver or be appointed mortgagee-in-possession to,
               among other things, take possession of the Property and collect the rents.




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               s.      Mortgagee’s Position on Consent Foreclosure: The Bank does not, in
                       accordance with 735 ILCS 5/15-1402, agree to accept title to the Argyle
                       Property in satisfaction of all indebtedness and obligations secured by the
                       Argyle Mortgage without a judicial sale.

               t.      Name of Defendants Whose Right to Possess the Mortgaged Real
                       Estate, After the Confirmation of a Foreclosure Sale, Is Sought To Be
                       Terminated and, If Not Elsewhere Stated, the Facts in Support
                       Thereof: Teeny Turner, LLC, Nisha M. Moeller and West End Flats
                       Condominium.

                         REQUEST FOR RELIEF AS TO COUNT II

       Wherefore, Plaintiff The Huntington National Bank, respectfully requests that the Court

enter the following:

       1.      A Judgment of Foreclosure and Sale as follows:

               (A)     that an accounting be taken under the direction the Court of the amounts

               due and owing by Borrower to the Bank;

               (B)     that Borrower be ordered to pay to the Bank, before expiration of any

               redemption period (or, if no redemption period, before a short date fixed by the

               Court) whatever sums may appear to be due upon the taking of such account,

               together with attorneys’ fees and costs of the proceeds (to the extent provided in

               the Argyle Mortgage or by law);

               (C)     that in default of such payment, in accordance with the judgment, the Argyle

               Property be sold as directed by the Court, to satisfy the amount due to the Bank as

               set forth in the judgment, together with the interest thereon at the statutory judgment

               rate from the date of the judgment;

               (D)     that in the event the Bank is the purchaser of the Argyle Property at such

               sale, the Bank may offset against the purchase price of the Argyle Property the

               amounts due under the Judgment of Foreclosure and order confirming the Sale;


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               (E)     that in the event of such sale and the failure of any person entitled thereto

               to redeem prior to such sale pursuant to Article 15 of the Illinois Mortgage

               Foreclosure Law, 735 ILCS §§ 5/15-1101 et seq., the Defendants made parties to

               the foreclosure in accordance with Article 15 of the Illinois Mortgage Foreclosure

               Law, and all non-record claimants given notice of the foreclosure in accordance

               with Article 15 of the Illinois Mortgage Foreclosure Law, and all persons claiming

               by, through or under them, and eachand any and all of them, may be forever barred

               and foreclosed of any right, title, interest, claim, lien, or right to redeem in and to

               the mortgaged real estate; and

               (F)     that if no redemption is made prior to such sale, a deed may be issued to the

               purchaser thereat according to law and such purchaser be let into possession of the

               Argyle Property in accordance with Article 17 of the Illinois Mortgage Foreclosure

               Law §§ 735 ILCS 5/15-1701 et seq.

       2.      An order appointing the Bank as mortgagee in possession or, in the alternative, an

               order appointing a receiver, if applicable;

       3.      A personal judgment of deficiency against Defendants, Teeny Turner, LLC and

               Nisha M. Moeller;

       4.      A judgment for attorneys’ fees, costs and expenses; and

       5.      Such other and further relief to which the Bank may be entitled.

                              COUNT III – BREACH OF NOTE
                                   (Against Borrower)

       20.     The Bank restates and re-alleges paragraphs 1-15, inclusive, as though fully set

forth in this paragraph 20.

       21.     The Bank has performed any and all conditions precedent on its part under the Note.


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       22.     The Bank has demanded payment from Borrower, but Borrower has failed to make

payment as required by the Note.

       23.     Under the terms of the Note, Borrower is indebted to the Bank for all amounts now

due and owing, together with further accruing interest, and all sums incurred by the Bank in the

collection of such amounts due, including attorneys’ fees and court costs.

                         REQUEST FOR RELIEF AS TO COUNT III

       Wherefore, Plaintiff The Huntington National Bank, requests that the Court enter the

following:

               (1)     A judgment in its favor and against Defendant Teeny Turner, LLC in the

amount of at least $585,882.08 as of August 28, 2023, together with further accruing interest, costs,

charges, fees and attorneys’ fees; and

               (2)     Such other and further relief as the Court may deem just and equitable.

                              COUNT IV – BREACH OF GUARANTY
                                       (Against Moeller)

       24.     The Bank restates and re-alleges paragraphs 1-15, inclusive, as though fully set

forth in this paragraph 24.

       25.     Under the Guaranty, Moeller guaranteed the full and punctual payment and

satisfaction of all of the Borrower’s obligations under the Note.

       26.     Borrower’s obligations under the Note are presently due and payable in full in the

amounts set forth above.

       27.     Under the terms of the Guaranty, Moeller is indebted to the Bank for all amounts

now due and owing under the Note, together with further accruing interest, and all sums incurred

by the Bank in the collection of such amounts due, including attorneys’ fees and court costs.




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       28.       The Bank has made demand upon Moeller for payment of all amounts due under

the Guaranty, but she has failed to make the required payment.

       29.       Accordingly, Moeller is indebted to the Bank as of August 28, 2023 in the amount

of at least $585,882.08, together with further accruing interest, costs, charges and fees, and all

sums incurred by the Bank in the collection of such amounts due, including attorneys’ fees and

court costs.

                              REQUEST FOR RELIEF AS TO COUNT IV

       Wherefore, Plaintiff The Huntington National Bank, requests that the Court enter the

following:

                 (1)    A judgment in its favor and against Nisha M. Moeller in the amount of at

least $585,882.08 as of August 28, 2023, together with further accruing interest, costs, charges,

fees and attorneys’ fees; and

                 (2)    Such other and further relief as the Court may deem just and equitable.

               COUNT V – REFORMATION OF THE RANDOLPH MORTGAGE

       30.       The Bank restates and re-alleges paragraphs 1-15, inclusive, as though fully set

forth in this paragraph 30.

       31.       Due to a scrivener’s error, the Randolph Mortgage incorrectly references “The

Residences at the Joffrey Tower Condominium” as “The Residences at the Joffrey To

Condominium.”

       32.       Specifically, due to the scrivener’s error, the legal description of the Randolph

Property provides as follows:

       UNIT 2902, TOGETHER WITH THE EXCLUSIVE RIGHT TO USE STORAGE SPACE
       S148, LIMITED COMMON ELEMENT, IN THE RESIDENCES AT THE JOFFREY TO
       CONDOMINIUM AS DELINEATED ON THE PLAT OF SURVEY OF THAT PART
       OF THE FOLLOWING PARCELS OF REAL ESTATE:


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  PARCEL 1:

  LOTS 25 TO 31, INCLUSIVE, IN BLOCK 9 IN FORT DEARBORN ADDITION TO
  CHICAGO IN THE SOUTH WEST 1/4 OF SECTION 10, TOWNSHIP 39 NORTH,
  RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
  ILLINOIS. WHICH SURVEY IS ATTACHED AS EXHIBIT C TO THE
  DECLARATION OF CONDOMINIUM RECORDED JANUARY 23, 2008 AS
  DOCUMENT NUMBER 0802803105, AS MAY BE AMENDED FROM TIME TO
  TIME TOGETHER WITH THEIR UNDIVIDED PERCENTAGE INTEREST IN THE
  COMMON ELEMENTS.

  PARCEL 2:

  NON-EXCLUSIVE EASEMENTS APPURTENANT TO AND FOR THE BENEFIT OF
  PARCEL 1 AS CREATED BY THE DECLARATION OF COVENANTS,
  CONDITIONS, RESTRICTIONS AND EASEMENTS FOR THE STATE RANDOLPH
  DEVELOPMENT, RECORDED OCTOBER 19, 2007 AS DOCUMENT NUMBER
  0729260064 FOR SUPPORT, INGRESS AND EGRESS, MAINTENANCE, UTILITIES,
  ENCROACHMENTS, ELEVATORS AND FACILITIES, OVER THE LAND
  DESCRIBED THEREIN AND AS MORE PARTICULARLY DESCRIBED AND
  DEFINED THEREIN.

  33.   The correct legal description on the Randolph Property is as follows:

  UNIT 2902, TOGETHER WITH THE EXCLUSIVE RIGHT TO USE STORAGE SPACE
  S148, LIMITED COMMON ELEMENT, IN THE RESIDENCES AT THE JOFFREY
  TOWER CONDOMINIUM AS DELINEATED ON THE PLAT OF SURVEY OF THAT
  PART OF THE FOLLOWING PARCELS OF REAL ESTATE:

  PARCEL 1:

  LOTS 25 TO 31, INCLUSIVE, IN BLOCK 9 IN FORT DEARBORN ADDITION TO
  CHICAGO IN THE SOUTH WEST 1/4 OF SECTION 10, TOWNSHIP 39 NORTH,
  RANGE 14 EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
  ILLINOIS. WHICH SURVEY IS ATTACHED AS EXHIBIT C TO THE
  DECLARATION OF CONDOMINIUM RECORDED JANUARY 23, 2008 AS
  DOCUMENT NUMBER 0802803105, AS MAY BE AMENDED FROM TIME TO
  TIME TOGETHER WITH THEIR UNDIVIDED PERCENTAGE INTEREST IN THE
  COMMON ELEMENTS.

  PARCEL 2:

  NON-EXCLUSIVE EASEMENTS APPURTENANT TO AND FOR THE BENEFIT OF
  PARCEL 1 AS CREATED BY THE DECLARATION OF COVENANTS,
  CONDITIONS, RESTRICTIONS AND EASEMENTS FOR THE STATE RANDOLPH


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       DEVELOPMENT, RECORDED OCTOBER 19, 2007 AS DOCUMENT NUMBER
       0729260064 FOR SUPPORT, INGRESS AND EGRESS, MAINTENANCE, UTILITIES,
       ENCROACHMENTS, ELEVATORS AND FACILITIES, OVER THE LAND
       DESCRIBED THEREIN AND AS MORE PARTICULARLY DESCRIBED AND
       DEFINED THEREIN.

       34.     It was the Bank and Borrower’s intent to create a valid mortgage contract

containing the correct legal description of the Randolph Property as described herein.

       35.     The Bank now seeks to correct the Randolph Mortgage to reflect the proper legal

description.

                              REQUEST FOR RELIEF AS TO COUNT V

       Wherefore, Plaintiff The Huntington National Bank, requests that the Court enter an order

as follows:

               (1)     Judicially reforming the Randolph Mortgage to correct its legal description

       to the legal description identified in Paragraph 33, above;

               (2)     Providing such other and further relief as the Court may deem just and

       equitable.

                                        COUNT VI – REPLEVIN

       36.     The Bank restates and re-alleges paragraphs 1-15, inclusive, as though fully set

forth in this paragraph 36.

       37.     On or about November 10, 2021, in connection with the Loan and to further secure

Borrower’s repayment obligations, Borrower executed and delivered to the Bank a certain

Commercial Security Agreement (the “CSA”). A copy of the CSA is attached hereto as Exhibit

E.

       38.     The CSA provides that the Bank has a perfected security interest in, inter alia, all

of the Borrower’s inventory and equipment (the “Personal Property”).



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       39.     The security interest in the Personal Property conveyed by the CSA was also

perfected by the filing of that certain UCC Financing Statement naming Borrower as debtor, filed

on November 16, 2021, as Document No. 27887961, with the Illinois Secretary of State, in favor

of the Bank (the “Financing Statement”). A copy of the Financing Statement is attached hereto as

Exhibit F.

       40.     The Personal Property consists of fitness equipment and related products.

       41.     Borrower wrongfully detains and withholds the Personal Property from the Bank.

       42.     The fair market value of the Personal Property is $10,740.00.

       43.     The Bank claims the value of Personal Property not delivered to the officer under

the order for replevin entered by this Court.

                         REQUEST FOR RELIEF AS TO COUNT VI

       Wherefore, Plaintiff The Huntington National Bank, requests that the Court enter an order

as follows:

               (1)     An Order of Replevin issue and for judgment against Defendant, Teeny

       Turner, LLC, for possession of the Personal Property, the value of Personal Property not

       delivered; and damages for the detention;

               (2)     Providing such other and further relief as the Court may deem just and

       equitable.

                                                Respectfully Submitted,

                                                THE HUNTINGTON NATIONAL BANK


                                                By: /s/ Andrew H. Eres




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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 THE HUNTINGTON NATIONAL BANK,                              )
                                                            )
         Plaintiff,                                         )
                                                            )
                                                            )    Case No.
                                                            )
                                                            )
 v.                                                         )
                                                            )
 TEENY TURNER, LLC, NISHA M. MOELLER, THE                   )
 RESIDENCES AT THE JOFFREY TOWER                            )
 CONDOMINIUM ASSOCIATION, and WEST END                      )
 FLATS CONDOMINIUM ASSOCIATION,                             )
                                                            )
          Defendants.                                       )

                AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222

        Pursuant to Illinois Supreme Court Rule 222(B), counsel for the above-named Plaintiff
certifies that Plaintiff seeks money damages in excess of $50,000.00, not including interest, costs,
and attorneys’ fees.


                                                      Respectfully Submitted,


                                                      By:   /s/Andrew H. Eres
                                                        Attorney for Plaintiff
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